Case 4:20-cv-00957-SDJ Document 467-1 Filed 05/06/24 Page 1 of 7 PageID #: 13108
                            *FILED UNDER SEAL*




                         Exhibit 1
       Case 4:20-cv-00957-SDJ Document 467-1 Filed 05/06/24 Page 2 of 7 PageID #: 13109




From:                            Pearl, David <dpearl@axinn.com>
Sent:                            Friday, April 26, 2024 9:34 PM
To:                              Geraldine W. Young; SALEM, Sara; Audrey Moore; Hunsberger, James K.; SESSIONS,
                                 Justina (JKS); Justus, Bradley; Paul Yetter; Bracewell, Mollie; MAHR, Eric (EJM);
                                 MCCALLUM, Robert; ELMER, Julie (JSE); Bitton, Daniel S.; Vissichelli, Allison M.; Bryce
                                 Callahan; EWALT, Andrew (AJE); VACA, Lauren
Cc:                              Zeke DeRose III; Jonathan.Wilkerson; Alex J. Brown; Marc B. Collier; John McBride; Peter
                                 M. Hillegas; Trevor.Young; Noah Heinz; Zina Bash; Joseph M. Graham Jr.; Ashley Keller;
                                 Brooke Smith; jdugan@dugan-lawfirm.com; Isabela Pena-Gonzalez; NRFAdTech; James
                                 R. Hall; Melonie DeRose; GARRETT, Tyler; LARITZ, Tina
Subject:                         RE: State of Texas v Google - Deposition Notices


All,

Mr.         is actually not available for a deposition next Wednesday, May 1. We will be offering him instead on
either Thursday, May 2 or Friday May 3 – we will follow up at the beginning of next week to confirm which of
those two days he will be available.

Have a nice weekend,

David


David Pearl
Partner




Axinn, Veltrop & Harkrider LLP
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Washington, DC 20036
Office 202.469.3514
Mobile 310.733.8444
dpearl@axinn.com
Axinn.com

55 Second Street
San Francisco, CA 94105

Pronouns | He, Him, His




From: Pearl, David <dpearl@axinn.com>
Sent: Wednesday, April 24, 2024 8:26 PM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; SALEM, Sara <Sara.Salem@freshfields.com>;
Audrey Moore <Audrey.Moore@LanierLawFirm.com>; Hunsberger, James K. <jhunsberger@axinn.com>; SESSIONS,
Justina (JKS) <Justina.Sessions@freshfields.com>; Justus, Bradley <bjustus@axinn.com>; Paul Yetter
                                                           1
       Case 4:20-cv-00957-SDJ Document 467-1 Filed 05/06/24 Page 3 of 7 PageID #: 13110
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; Bitton, Daniel S. <dbitton@axinn.com>; Vissichelli, Allison M. <avissichelli@axinn.com>;
Bryce Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA,
Lauren <Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; NRFAdTech
<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>; LARITZ, Tina
<Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

All,

               will be available for a deposition next Wednesday, May 1, at 9 AM ET, either remotely or in
person in New York. If you would like to take his deposition in person, we will follow up with the exact location.

Thanks,

David


David Pearl
Partner




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1901 L Street NW
Washington, DC 20036
Office 202.469.3514
Mobile 310.733.8444
dpearl@axinn.com
Axinn.com

55 Second Street
San Francisco, CA 94105

Pronouns | He, Him, His




From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Wednesday, April 24, 2024 4:46 PM
To: SALEM, Sara <Sara.Salem@freshfields.com>; Audrey Moore <Audrey.Moore@LanierLawFirm.com>; Pearl, David
<dpearl@axinn.com>; Hunsberger, James K. <jhunsberger@axinn.com>; SESSIONS, Justina (JKS)
                                                           2
      Case 4:20-cv-00957-SDJ Document 467-1 Filed 05/06/24 Page 4 of 7 PageID #: 13111
<Justina.Sessions@freshfields.com>; Justus, Bradley <bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>;
Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM,
Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Bitton, Daniel S.
<dbitton@axinn.com>; Vissichelli, Allison M. <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
<Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; NRFAdTech
<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>; LARITZ, Tina
<Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices


Caution: External Email

Caution: External Email



Counsel:

You have provided us less than 48 hours’ notice of Ms.           ’s deposition. We request that for any future
depositions that we be provided at least 3 days’ notice. As you know, there are still a number of 30(b)(1) and 30(b)(6)
depositions and topics that have not been scheduled.

We also request that you confirm that Google has completed its production of custodial documents and all related
metadata for Ms.           (as well as for all upcoming scheduled depositions including Mr.     ).

If that is the case, we will take Ms.          ’s deposition remotely on Friday April 26 but request a slightly later start
time at 10 am ET (which is still less than 48 hours from your email below), due to pre-existing conflicts on our
end. Please confirm that start time will work and we will be able to depose Ms.               for up to 7 hours on the
record, and we will make the arrangements and send you all the zoom link for the deposition.

Thank you,
Geraldine

From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Wednesday, April 24, 2024 11:46 AM
To: Audrey Moore <Audrey.Moore@LanierLawFirm.com>; dpearl@axinn.com; jhunsberger@axinn.com; SESSIONS,
Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; Daniel Bitton <dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce
Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
<Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
                                                              3
        Case 4:20-cv-00957-SDJ Document 467-1 Filed 05/06/24 Page 5 of 7 PageID #: 13112
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; NRFAdTech <NRFAdTech@nortonrosefulbright.com>; James R. Hall
<james.hall@nortonrosefulbright.com>; Melonie DeRose <Melonie.DeRose@LanierLawFirm.com>; GARRETT, Tyler
<Tyler.Garrett@freshfields.com>; LARITZ, Tina <Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices


[External Email – Use Caution]


Counsel –

                       is available for a deposition on April 26, 2024 beginning at 9am ET remotely or at Freshfields New
York office.

Best,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: SALEM, Sara
Sent: Monday, April 22, 2024 1:31 PM
To: Audrey Moore <Audrey.Moore@LanierLawFirm.com>; dpearl@axinn.com; jhunsberger@axinn.com; SESSIONS,
Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; Daniel Bitton <dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce
Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
<Lauren.VACA@freshfields.com>
Cc: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier
<marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Trevor Young <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela Pena-Gonzalez <isabela.pena-
gonzalez@nortonrosefulbright.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>;
NRFAdTech@nortonrosefulbright.com; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Counsel –

I write with an update on         ’s availability. Mr.         is available for a deposition on May 1, 2024 beginning at 9am
PT remotely or at Freshfields Redwood City office.

Best,
                                                               4
        Case 4:20-cv-00957-SDJ Document 467-1 Filed 05/06/24 Page 6 of 7 PageID #: 13113
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: Audrey Moore <Audrey.Moore@LanierLawFirm.com>
Sent: Wednesday, April 17, 2024 8:16 PM
To: dpearl@axinn.com; jhunsberger@axinn.com; SALEM, Sara <Sara.Salem@freshfields.com>; SESSIONS, Justina (JKS)
<Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>;
Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM,
Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Daniel Bitton
<dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>;
EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren <Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier
<marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Trevor Young <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela Pena-Gonzalez <isabela.pena-
gonzalez@nortonrosefulbright.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>;
NRFAdTech@nortonrosefulbright.com; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>
Subject: RE: State of Texas v Google - Deposition Notices

Counsel,

The Plaintiff States hereby serve the attached Notices of Deposition for the following deponents in the State of
Texas et al. v. Google LLC case, No. 4:20-cv-00957-SDJ:

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    
    
    
    
    
    
    
    
    

 Thank you.

Audrey




                                                        5
      Case 4:20-cv-00957-SDJ Document 467-1 Filed 05/06/24 Page 7 of 7 PageID #: 13114

                          Audrey Moore
                          Paralegal
                          p: 713-659-5200
                          10940 West Sam Houston Pkwy N, Suite 100
                          Houston • Texas • 77064
                          www.LanierLawFirm.com




Audrey Moore - Paralegal p: 713-659-5200 w: www.LanierLawFirm.com

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**********************************************************************
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